             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:16-cr-00064-MR-WCM-8


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                  ORDER
                                )
KEVIN LAMONT LOGAN,             )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion for release to home confinement [Doc. 496].

     The Defendant moves the Court to order his release to home

confinement due to the ongoing COVID-19 pandemic. [Doc. 496].

     The discretion to release a prisoner to home confinement lies solely

with the Attorney General.    See 18 U.S.C. § 3624(c)(2); 34 U.S.C. §

60541(g).   The legislation recently passed by Congress to address the

COVID-19 pandemic does not alter this. See CARES Act, Pub. L. No. 116-

136, 134 Stat 281, 516 (2020) (“During the covered emergency period, if the

Attorney General finds that emergency conditions will materially affect the

functioning of the Bureau [of Prisons], the Director of the Bureau may

lengthen the maximum amount of time for which the Director is authorized to


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place a prisoner in home confinement under the first sentence of section

3624(c)(2) of title 18, United States Code, as the Director determines

appropriate.”) (emphasis added). As such, this Court lacks the authority to

order the Defendant’s release. Deffenbaugh v. Sullivan, No. 5:19-HC-2049-

FL, 2019 WL 1779573, at *1 (E.D.N.C. Apr. 23, 2019); United States v.

Overcash, No. 3:15-CR-263-FDW-1, 2019 WL 1472104, at *3 (W.D.N.C.

Apr. 3, 2019) (noting that there is “no provision for judicial review of the

BOP's and Attorney General’s decision with regards to a request for home

detention under § 60541(g)”); United States v. Curry, No. 6:06-082-DCR,

2019 WL 508067, at *1 (E.D. Ky. Feb. 8, 2019) (“Because the First Step Act

gives the Attorney General the discretion to determine if and when home

confinement is appropriate, this Court does not have the authority to grant

the requested relief.”) (emphasis in original).

      For these reasons, the Defendant’s request for a release to home

detention is denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter, which the

Court construes as a motion for release to home confinement [Doc. 496], is

DENIED.
                                   Signed: May 11, 2020
      IT IS SO ORDERED.

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